 Case 1:20-cr-00183-RJJ ECF No. 504, PageID.3847 Filed 02/28/22 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                 No. 1:20-cr-183

             vs.                               Hon. Robert J. Jonker
                                               Chief United States District Judge

ADAM DEAN FOX,

                  Defendant.
_______________________________/

                GOVERNMENT’S RESPONSE TO THIRD MOTION
                     FOR DISCLOSURE OF CHS FILES

      Defendant Fox moves for disclosure of compensation and admonishments

provided to three confidential human sources. The government has provided that

information as to the witness it intends to call, and is not obligated to provided

impeachment material for the defendant’s witnesses. This Court has denied this

same motion previously on multiple occasions.


                                        FACTS

      1.     Defendant Fox seeks production of CHS files for CHS 99252 (“Dan”),

CHS 97067 (“Steve”), and CHS 99802 (“Jenny”). (R. 493: Motion in Limine,

PageID.3802.) Specifically, he requests records of admonishments and financial

compensation provided to the sources. (PageID.3807.)

      2.     The government advised Fox before he filed this motion that it would

voluntarily disclose the admonishments and compensation provided for CHS “Dan”,
  Case 1:20-cr-00183-RJJ ECF No. 504, PageID.3848 Filed 02/28/22 Page 2 of 3




who will testify in the government’s case-in-chief. That disclosure will be made this

week.

        3.     The government does not intend to call CHS “Steve” as a witness. It

nonetheless disclosed the admonishments, compensation, and a summary of the

quarterly and annual reviews for CHS “Steve” on November 17, 2021. (Bates

200175-181.)

        4.     The government does not intend to call CHS “Jenny” as a witness in its

case-in-chief.

        5.       Fox correctly states that he has repeatedly requested this information.

(PageID.3802). He moved for the same relief in July 2021. (R. 251: Motion for

Joinder, PageID.1374.) After a contested hearing, this Court (Hon. Sally J. Berens,

presiding) denied the motion. (R. 325: Order, PageID.1941.) This Court affirmed the

ruling on appeal. (R. 351: Order, PageID.2212). Co-defendant Franks filed the same

motion again in January, 2022. (R. 401: Def’s Mot., PageID.2793.) This Court denied

it again. (R. 417: Order, PageID.2867.)

                                 LAW AND ARGUMENT

        6.     “There is no requirement that the government must disclose to the

defense that material which would allow the defendant to impeach his own

witness.” United States v. Kimley, 60 F. App'x 369, 371 (3d Cir. 2003), citing Giglio

v. United States, 405 U.S. 150, 154-55 (1972). See also, United States v. Garcia-

Martinez, 730 F. App’x 665, 678 (10th Cir. 2018); Vas v. United States, No. 04-cr-

0489, 2012 U.S. Dist. LEXIS 121194, at *14 (E.D. Pa. Aug. 24, 2012).
  Case 1:20-cr-00183-RJJ ECF No. 504, PageID.3849 Filed 02/28/22 Page 3 of 3




       7.     Mere speculation that a government file may contain Brady material is

insufficient to compel production. United States v. Driscoll, 970 F.2d 1472, 1482 (6th

Cir. 1992). “A due process standard which is satisfied by mere speculation would

convert Brady into a discovery device and impose an undue burden upon the district

court.” Id.

       WHEREFORE, the government requests the Court deny the defendant’s

motion.

                                       Respectfully submitted,

                                       ANDREW BYERLY BIRGE
                                       United States Attorney

Dated: February 28, 2022                 /s/ Nils R. Kessler
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